Case 1:22-cr-00246-CG-N Document 23 Filed 04/05/23 Page 1 of 4          PageID #: 67




                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA               )
                                       )
v.                                     )     CRIMINAL NO. 22-CR-00246-CG
                                       )
TERRELL M. MOULTRIE                    )

                  PRELIMINARY ORDER OF FORFEITURE

      This matter is before the Court on the United States’ Motion for Preliminary

Order of Forfeiture. (Doc. 22). Based on the indictment and the plea agreement and

factual resume (Docs. 1, 19), the motion is GRANTED. It is therefore:

      ORDERED, ADJUDGED AND DECREED, that, pursuant to Title 18,

United States Code, Section 924(d), Title 28, United States Code, Section 2461(c),

and Fed. R. Crim. P. 32.2(b), the interest of the defendant, Terrell M. Moultrie, in

the property identified as follows is hereby condemned and forfeited to the United

States for disposition according to law:

      1. One Glock, model 22, .40 caliber handgun, serial number LXS244.

      2. Eight rounds of ammunition:

             a. One round of Win 40 S&W ammunition

             b. Two rounds of Ammo Inc. 40 ammunition

             c. Five rounds of Blazer, 40 S&W ammunition

      AND WHEREAS, by virtue of said guilty plea, plea agreement and factual

resume, the United States is now entitled to, pending possible appeal herein, reduce
Case 1:22-cr-00246-CG-N Document 23 Filed 04/05/23 Page 2 of 4          PageID #: 68




the said property to its possession and notify any and all potential third parties who

have or may have an interest in the forfeited property, pursuant to Title 21, United

States Code, Section 853, and Fed. R. Crim. P. 32.2(b):

      Now therefore, it is hereby ORDERED, ADJUDGED AND DECREED:

       That based on the foregoing and Fed. R. Crim. P 32.2(b), the above-described

property is hereby forfeited to and vested in the United States of America for

disposition in accordance with law, subject to the provisions of Title 21, United

States Code, Section 853(n).

       The aforementioned property is authorized to be held by the Bureau of

Alcohol, Tobacco, Firearms and Explosives or other authorized federal agency in

its secure custody and control and to be disposed of in accordance with law.

       Pursuant to 21 U.S.C. § 853(n)(1) and the Attorney General’s authority to

determine the manner of publication of an order of forfeiture in a criminal case, the

United States shall publish notice of this Order on an official government internet

site (www.forfeiture.gov) for at least 30 consecutive days.

       In accordance with Section 853(n)(1)-(3), the notice shall accomplish
at least the following:
       ●     provide notice of the entry of this Order;
       ●     declare the United States’ intent to dispose of the property in
             such manner as the Attorney General may direct;

       ●     explain that any person, other than the defendant, having or
             claiming a legal interest in any of the above-described forfeited
             property must file a petition with the Court within 60 days of



                                          2
Case 1:22-cr-00246-CG-N Document 23 Filed 04/05/23 Page 3 of 4             PageID #: 69




              the first date of publication of notice (which date shall be set
              forth in the notice);
       ●      provide the Clerk’s address for filing of the petition;
       ●      explain that the petition shall be signed by the petitioner
              under penalty of perjury; and
       ●      explain that the petition shall set forth the nature and extent
              of the petitioner’s right, title or interest in the forfeited
              property, the time, and circumstances of the petitioner’s
              acquisition of the right, title, or interest, and any additional
              facts supporting the petitioner’s claim and the relief sought.
      Pursuant to Fed. R. Crim. P. 32.2(b)(6)(A), the United States must also send

notice to any person who reasonably appears to be a potential claimant with

standing to contest the forfeiture in an ancillary proceeding.

      Pursuant to Section 853(n)(1), the United States may also, to the extent

practicable, provide direct written notice to any person known to have alleged an

interest in the property that is the subject of this Order, as a substitute for published

notice as to those persons so notified.

      After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)(1)(A),

and pursuant to Fed. R. Crim. P. 32.2(c)(1)(B), discovery may be conducted prior to

a hearing on a petition in accordance with the Federal Rules of Civil Procedure,

upon showing that such discovery is necessary or desirable to resolve factual issues.

      The United States shall have clear title to the above-described firearm and

ammunition following the Court’s disposition of all third-party interests, or, if

none, following the expiration of the period provided in Section 853(n)(2) for the

filing of third-party petitions. Pursuant to Fed. R. Crim. P. 32.2(c)(2), if no third

                                           3
Case 1:22-cr-00246-CG-N Document 23 Filed 04/05/23 Page 4 of 4          PageID #: 70




party files a timely petition this Order becomes the final order of forfeiture, and

the United States shall file a motion requesting that this Order become the final

order of forfeiture.

       Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B), this preliminary order of

forfeiture shall become final as to the defendant at the time of sentencing and shall

be made part of the sentence and judgment.

       The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).

       DONE and ORDERED this 5th day of April, 2023.

                                /s/ Callie V. S. Granade
                                SENIOR UNITED STATES DISTRICT JUDGE




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